      Case 15-40289-mxm11              Doc 5120        Filed 03/17/23        Entered 03/17/23 11:38:45       Desc
                                                       Page 1 of 1




The following constitutes the ruling of the court and has the force and effect therein described.


Signed March 17, 2023
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________


BTXN 163 (rev. 05/16)
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS


In Re:                                                        §
Life Partners Holdings, Inc.                                  §    Case No.: 15−40289−mxm11
                                                              §    Chapter No.: 11
                                           Debtor(s)          §


                        ORDER AUTHORIZING PAYMENT OF UNCLAIMED FUNDS
    At Fort Worth , Texas, in said District, came on to be considered the Application For Payment Of Unclaimed
Funds by:

      NAME:                            Dilks & Knopik, LLC as assignee to Barbara T. Russell
                                       c/o Andrew Drake
      MAILING ADDRESS:                 35308 SE Center St.
                                       Snoqualmie, WA 98065

      Claimant, for payment of unclaimed funds in the amount of $5,879.29.

      It appearing to the Court that the said claimant is entitled to receive payment in the amount stated above, and

      that said funds are now on deposit in the United States Treasury, and

      that notice of the Application was given to the United States Attorney, and

      that no objection to the Application has been filed, it is

     ORDERED that the Clerk of Court direct issuance of a draft upon the United States Treasury in the amount
stated above, payable to this claimant.

                                                  # # # End of Order # # #
